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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

CARL GENE THYMES,

       Plaintiff,

vs.                                                           Civ. No. 16-66 KG/WPL

VERIZON WIRELESS, INC., and
CARLOS RESTREPO,

       Defendants.

                           MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Defendant Restrepo’s Motion to Dismiss

Plaintiffs’ Complaint, and memorandum in support (collectively, Motion to Dismiss), both filed

February 5, 2016. (Docs. 6 and 7). Defendant Restrepo seeks to dismiss pro se Plaintiff’s

complaint against him, with prejudice, under Fed. R. Civ. P. 12(b)(1) for lack of subject matter

jurisdiction over the Title VII claims, and under Fed. R. Civ. P. 12(b)(6) for failure to state

plausible Title VII and slander claims. Plaintiff filed responses on June 10, 2016, and Defendant

Carlos Restrepo filed a reply on June 24, 2016.1 (Docs. 32, 33, and 36). Defendant Restrepo and

Plaintiff each seek an award of attorney’s fees and costs should they prevail on this Motion to

Dismiss. Having considered the Motion to Dismiss and the accompanying briefing, the Court

grants the Motion to Dismiss, in part, in that Plaintiff’s claims against Defendant Restrepo are

dismissed with prejudice, but Defendant Restrepo’s request for an award of attorney’s fees and

costs is denied.




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 On June 8, 2016, the Court allowed Plaintiff fourteen days to respond to the Motion to Dismiss,
and allowed Defendant Restrepo fourteen days after the receipt of the response to file a reply.
(Doc. 30) at 3.
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A. Background

       Plaintiff filed this employment lawsuit in state court against his employer, Defendant

Verizon Wireless, Inc. (Verizon),2 and against Defendant Restrepo, a Verizon Director of

Customer Service, in his personal capacity. Plaintiff alleges racial discrimination, harassment,

and retaliation against Defendants under Title VII. He also alleges that Defendants slandered

him. These allegations arise from Defendants’ failure to promote Plaintiff to the position of

Permanent Supervisor. Defendants subsequently removed the lawsuit to federal court on the

basis of federal question jurisdiction. (Doc. 3) at 4.

       Plaintiff’s Equal Employment Opportunity Commission (EEOC) Intake Questionnaire

identifies Defendant Restrepo as an individual responsible for discriminatory conduct against

Plaintiff. (Doc. 32) at 5. Plaintiff details how Defendant Restrepo, in interviewing Plaintiff, told

Plaintiff that Plaintiff was “picking” on him by complementing him on his hard work. Id.

       Plaintiff’s EEOC Charge of Discrimination only names Verizon as the respondent. (Doc.

36-1). Plaintiff, however, states in the Charge of Discrimination that, after each of three

interviews for the position of Permanent Supervisor, Defendant Restrepo informed Plaintiff that

he was not qualified for the position despite his awards for his supervisory work and the fact that

Plaintiff trained supervisor candidates who were promoted to supervisory positions. Id.

B. Discussion

       1. The Title VII Claims

       When confronted with both Rule 12(b)(1) and Rule 12(b)(6) motions, the Court must first

determine whether it has subject matter jurisdiction before addressing the merits of the case

under a Rule 12(b)(6) analysis. Bell v. Hood, 327 U.S. 678, 682 (1946) (“Whether the complaint

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 Apparently, the correct name for Verizon is “Cellco Partnership d/b/a Verizon Wireless.”
(Doc. 7) at 1.
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states a cause of action on which relief could be granted is a question of law and just as issues of

fact it must be decided after and not before the court has assumed jurisdiction over the

controversy.”). See also State v. Nat'l Indian Gaming Comm'n, 151 F. Supp. 3d 1199, 1208 (D.

Kan. 2015) (quoting Bell, 327 U.S. at 682). Accordingly, the Court first addresses Defendant

Restrepo’s Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction.

       Defendant Restrepo contends that the Court lacks subject matter jurisdiction over the

Title VII claims brought against him, because Plaintiff failed to exhaust administrative remedies

with respect to him. Specifically, Defendant Restrepo contends that Plaintiff failed to name him

as a respondent in the EEOC Charge of Discrimination. Plaintiff, on the other hand, seems to

suggest that his mention of Defendant Restrepo in the EEOC Intake Questionnaire constitutes

exhaustion of administrative remedies. 3

       The Court recognizes that “complaints to the EEOC must be liberally construed in order

to accomplish the purposes of the Act, since such complaints are written by laymen not versed

either in the technicalities of pleading or the jurisdictional requirements of the Act.” Romero v.

Union Pac. R.R., 615 F.2d 1303, 1311 (10th Cir. 1980). Even so, it is well-established that

“[t]he filing of a timely charge of discrimination with the EEOC is a jurisdictional prerequisite to

the institution of a lawsuit.” Id. An EEOC questionnaire, standing alone, however, does not

constitute a charge of discrimination. Semsroth v. City of Wichita, 304 F. App'x 707, 713 (10th

Cir. 2008) (“questionnaires cannot reasonably be construed as ‘a request for the agency to take

remedial action’ because they relate only factual information about the [plaintiff’s] allegations of



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  Plaintiff also seems to suggest that jurisdiction could be based on diversity of citizenship by
citing 28 U.S.C. § 1331. See (Doc. 33) at 3. Plaintiff, however, fails to provide any factual
allegations to support diversity jurisdiction. The Court further notes that Plaintiff initially filed
this lawsuit in state court, thereby invoking state jurisdiction, not federal jurisdiction, and that
Defendants removed the case to federal court on the basis of federal question jurisdiction.
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discrimination and make no requests of the agency.”). Consequently, Plaintiff’s EEOC Intake

Questionnaire cannot establish a jurisdictional basis for the Title VII claims against Defendant

Restrepo.


       Title VII allows a plaintiff to bring a civil action only against the respondent that he or

she named in the EEOC charge, and only after administrative remedies have been exhausted.

Romero, 615 F.2d at 1311 (citing 42 U.S.C. § 2000e–5(f)(1)). Nonetheless, there are narrow

exceptions to the rule requiring that a plaintiff name a defendant as a respondent in an EEOC

charge. Four factors are pertinent to determining whether the omission of a defendant's name in

a charge requires dismissal of a Title VII claim:

       1) whether the role of the unnamed party could through reasonable effort by the
       complainant be ascertained at the time of the filing of the EEOC complaint; 2) whether,
       under the circumstances, the interests of a named [party] are so similar as the unnamed
       party's that for the purpose of obtaining voluntary conciliation and compliance it would
       be unnecessary to include the unnamed party in the EEOC proceedings; 3) whether its
       absence from the EEOC proceedings resulted in actual prejudice to the interests of the
       unnamed party; 4) whether the unnamed party has in some way represented to the
       complainant that its relationship with the complainant is to be through the named party.

Id. at 1312 (quoting Glus v. G.C. Murphy Co., 562 F.2d 880, 888 (3d Cir.1977)). Additional

relevant factors may also be evaluated. Id.

       As to the first Romero factor, there is no reason to believe that Plaintiff, through

reasonable efforts, could not have ascertained at the time of the filing of the EEOC Charge of

Discrimination the role Defendant Restrepo played in any alleged Title VII violation. With

respect to the second Romero factor, Defendant Restrepo’s interest, in his personal capacity, in

the EEOC charge does not necessarily coincide with Verizon’s corporate interest in that charge.

In fact, “[u]nder long-standing circuit precedent, supervisors and other employees may not be

held personally liable under Title VII.” Williams v. W.D. Sports, N.M., Inc., 497 F.3d 1079,

1083 n.1 (10th Cir. 2007). Hence, Defendant Restrepo’s interest and Verizon’s interest are not
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so similar that it would have been unnecessary to include Defendant Restrepo in any voluntary

conciliation. Regarding the third Romero factor, as a supervisor not subject to personal liability

under Title VII, Defendant Restrepo would have no reason to suspect from the face of the EEOC

Charge of Discrimination that Plaintiff would sue him personally. Omitting Defendant

Restrepo’s name as respondent in the EEOC charge, thus, constitutes prejudicial surprise.

Finally, with respect to the last Romero factor, Defendant Restrepo has not indicated that he in

some way represented to Plaintiff that his relationship with Plaintiff was to be through Verizon

only. In considering these Romero factors as a whole, the Court concludes that Plaintiff failed to

exhaust administrative remedies as to Defendant Restrepo and that this Court, therefore, lacks

subject matter jurisdiction over the Title VII claims brought against him. Hence, the Court will

dismiss those Title VII claims with prejudice. See Persik v. Colorado State Univ., 60 F. App'x

209, 212 (10th Cir. 2003) (affirmed dismissal with prejudice where consideration of Romero

factors revealed no reason to excuse plaintiff from naming defendant in EEOC charge).

       In light of this conclusion, the Court need not address whether the Title VII claims

against Defendant Restrepo are subject to dismissal for failure to state a plausible claim under

Rule 12(b)(6). Nevertheless, the Court determines that, because of Defendant Restrepo’s

supervisory role, Plaintiff cannot, as a legal matter, bring the Title VII claims against Defendant

Restrepo, personally. These Title VII claims are, thus, also subject to dismissal with prejudice

under Rule 12(b)(6).

       2. The Slander Claim

       Defendant Restrepo and the Court assume that Plaintiff brings the slander claim under

New Mexico state law. Defendant Restrepo moves to dismiss this state law claim under Rule

12(b)(6) for failure to state a plausible claim. Rule 12(b)(6) requires that a complaint set forth



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the grounds of a plaintiff's entitlement to relief through more than labels, conclusions and a

formulaic recitation of the elements of a cause of action. See Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007). To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must allege

facts sufficient to state a plausible claim of relief. Id. at 570.

        New Mexico has abolished “slander” as a cause of action and now recognizes

“defamation.” UJI 13-1002 NMRA 1998 (2016 ed.), Committee Commentary. Defamation is

defined as a “wrongful injury to a person's reputation.” Smith v. Durden, 2012-NMSC-010, ¶ 29,

276 P.3d 943, 950 (N.M. 2012) (citing UJI 13-1002). Under New Mexico law, the elements of

defamation include (1) a publication by the defendant (2) of an asserted fact (3) which is

defamatory, (4) communicated to a third person, (5) of and concerning the plaintiff, (6) and

proximately causing injury to the plaintiff. See Newberry v. Allied Stores, 1989-NMSC-024, ¶

16, 108 N.M. 424 (1989); UJI 13-1002(B) (setting forth elements comprising prima facie case of

defamation).

        In reviewing Plaintiff’s complaint, the Court finds that Plaintiff does not allege any facts

which would support a plausible claim of defamation against Defendant Restrepo. Moreover,

Plaintiff did not respond to Defendant Restrepo’s argument that the defamation claim is subject

to a Rule 12(b)(6) dismissal. Under Local Rule 7.1(b), Plaintiff’s failure to oppose Defendant

Restrepo’s Rule 12(b)(6) motion to dismiss the defamation claim “constitutes consent to grant

the motion.” Indeed, courts have deemed a “plaintiff’s failure to respond to an argument raised

in defendants’ papers tantamount to an express abandonment of any such claim.” Palmer v.

Unified Gov't of Wyandotte Cty./Kansas City, Kansas, 72 F. Supp. 2d 1237, 1250-51 (D. Kan.

1999). Finally, the Court is simply not obligated to “make a party’s case for it.” Adler v. Wal-




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Mart Stores, Inc., 144 F.3d 664, 672 (10th Cir. 1998). For these reasons, the Court will dismiss

the defamation claim against Defendant Restrepo with prejudice.

          3. Defendant Restrepo’s Request for an Award of Attorney’s Fees and Costs

          Although Defendant Restrepo prevails on his Motion to Dismiss, he does not cite any

legal authority to support a request for an award of attorney’s fees and costs, nor does he provide

any factual support for that request. See D.N.M. LR-Cv 7.3 (motion must cite legal authority

and evidence in support of factual allegations). The Court, therefore, denies Defendant

Restrepo’s present request for an award of attorney’s fees and costs.

          IT IS ORDERED that

          1. Defendant Restrepo’s Motion to Dismiss Plaintiffs’ Complaint (Doc. 6) is granted;

          2. Plaintiff’s claims against Defendant Restrepo will be dismissed with prejudice; and

          3. Defendant Restrepo’s present request for an award of attorney’s fees and costs is

denied.




                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE




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